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IN THE UNITED STATES DISTRICT COURT Ys,

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FOR THE DISTRICT OF MARYLAND ., “ »
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Bryce Carrasco CIVIL ACTION Sia Po > \\ 6
Plaintiff CASE NO.:1:21-cv-00532 COA 2 hy,
, “Ben “SF
M&T Bank es “

Defendant

 

MOTION TO FILE PAPERS ELECTRONICALLY

COMES NOW Plaintiff Bryce Carrasco, (‘Plaintiff’), to file this Motion to permit the Plaintiff
to file all papers electronically through online PACER account. Plaintiff moves for this court to
take the action of submitting documents online because it 1s equitable and just, and ensures that
Plaintiff receives a speedy and fair trial before this honorable court. Due to various COVID-19-
19 restrictions and measures that are in place at the present time, Plaintiff believes that he is
being subjected to unfair treatment by limiting his ability to make service upon the Defendant
and to pay the filing fee. Plaintiff does not believe mail provides a viable method to make timely
service and efficient filing of necessary court documents compared to filing papers
electronically, which is instantaneous. Thus, Plaintiff seeks to be treated in an equitable manner
before this honorable court so that his right to a quick and speedy trial is protected. :

Plaintiff further claims that this motion should be granted by the court because it aligns
with the intent of the Federal Rules of Civil Procedure, Rule 1, which establishes the purpose of
the Rules, stating “they should be construed, administered, and employed by the court and the
parties to secure the just, speedy, and inexpensive determination of every action and
proceeding.” It is thus necessary to grant this motion for a fair and equitable administration of
the Complaint filed in this court by Plaintiff.

Plaintiff requests that the court allow for electronic filing and signing pursuant to Fed.
Rules of Civil Procedure 5(d)(3) for the remainder of the proceedings of this civil case.
Respectfully submitted this 3rd day of March 2021,

Bryce Carrasco
Pacer Account: bocarrasco47:6675502:0
/s/Bryce Carrasco

Dated: March 3, 202] Bryce Carrasco
334 Termving Drive

Respectfully Submitted, Amoid, MD 21012
Bocarnsco47:@outlook. coun

/s! Bryce Carrasco 410-858-7432

 
